Case 4:19-cv-00097-ALM Document 11 Filed 05/06/19 Page 1 of 3 PageID #: 70




               IN THE UNITED STATES DISTRICT COURT FOR
                    THE EASTERN DISTRICT OF TEXAS
                          SHERMAN DIVISION

    George Kenneth Schopp,                           §
                                                     §
                     Plaintiff,                      §
                                                     §
         v.                                          §    C.A. NO.: 4:19-cv-97-ALM
                                                     §
    Venture 475, LLC, a New York                     §
    limited liability company D/B/A                  §
    Synergy Capital 1, LLC                           §
                                                     §
                     Defendant.                      §

                       JOINT STIPULATION OF DISMISSAL

              Plaintiff George Kenneth Schopp (“Plaintiff”) and Defendant Venture

    475, LLC (“Defendant”), by and through their undersigned counsel, and

    pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), stipulate to the

    dismissal of all of Plaintiff’s individual claims against Defendant in the above-

    captioned matter with prejudice, and to the dismissal of all the class claims

    without prejudice. Each side is to bear their own costs. The case has not been

    certified as a class action, and this Stipulation of Dismissal disposes of the entire

    action.




    _______________________________________________________________________________
                                Joint Stipulation of Dismissal
                                           Page | 1
Case 4:19-cv-00097-ALM Document 11 Filed 05/06/19 Page 2 of 3 PageID #: 71




                                          Respectfully submitted,

                                          By:     /s/ Chris R. Miltenberger___
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    _______________________________________________________________________________
                                Joint Stipulation of Dismissal
                                           Page | 2
Case 4:19-cv-00097-ALM Document 11 Filed 05/06/19 Page 3 of 3 PageID #: 72




                                Certificate of Service

           The undersigned certifies that on May 6, 2019, the foregoing
     document was filed electronically through the Court’s CM/ECF system in
     compliance with the Local Rules. As such, this document was served on all
     counsel of record who are deemed to have consented to electronic service:

                                          By:     /s/ Chris R. Miltenberger
                                                   Chris R. Miltenberger




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                                Joint Stipulation of Dismissal
                                           Page | 3
